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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA                                )
                                                        )     No. 1: 14-cr-00074-LM
                v.                                      )
                                                        )
Joshua Fields                                           )


                      GOVERNMENT’S ASSENT TO DEFENDANT’S
                       MOTION FOR COMPASSIONATE RELEASE

        The United States of America assents to Joshua Fields’ motion for compassionate

 release under 18 U.S.C. § 3582(c)(1)(A)(i). The United States requests that the Court place

 the defendant on a period of special supervised release for the remainder of the defendant’s

 120-month sentence. The United States further requests that, as special conditions of this

 period of supervised release, the Court impose the following special conditions:

            1. You must reside at the Hampshire House Residential Reentry Center for the first

                 six (6) months of your special term of supervised release. You must follow all

                 rules and regulations of the Hampshire House.

            2. You must not communicate, or otherwise interact, with the Dack family, either

                 directly or through someone else, without first obtaining the permission of the

                 probation officer.

            3. You must participate in a mental health treatment program and follow the rules

                 and regulations of that program. The probation officer will supervise your

                 participation in the program (provider, location, modality, duration, intensity,

                 etc.). You must pay for the cost of treatment to the extend you are able, as

                 determined by the probation officer.
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 4. You must take all mental health medications that are prescribed by your

    treating physician. You must pay for the cost of treatment to the extend you are

    able, as determined by the probation officer.

 5. You must participate in a substance use treatment program and follow the rules

    and regulations of that program. The probation officer will supervise your

    participation in the program (provider, location, modality, duration, intensity,

    etc.). You must pay for the cost of treatment to the extend you are able, as

    determined by the probation officer.

 6. You must not use or possess any controlled substances without a valid

    prescription. If you do have a valid prescription, you must disclose the

    prescription information to the probation officer and follow the instructions of

    the prescription.

 7. You must submit to substance use testing to determine if you have used a

    prohibited substance. You shall pay for the cost of testing to the extend you are

    able, as determined by the probation officer. You must not attempt to obstruct

    or tamper with the testing methods.

 8. You must not knowing purchase, posses, distribute, administer, or otherwise

    use any psychoactive substances (e.g., synthetic marijuana, bath salts, etc.) that

    impair a person’s physical or mental functioning, whether or not intended for

    human consumption, except with the prior approval of the probation officer.

 9. You must submit your person, property, house, residence, vehicle, papers,

    computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic


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                communications or data storage devices or media, or office, to a search

                conducted by a U.S. Probation Officer. Failure to submit to a search may be

                grounds for revocation of release. You must warn any other occupants that the

                premises may be subject to searches pursuant to this condition. The probation

                officer may conduct a search under this condition only when reasonable

                suspicion exists that you have violated a condition of supervision and that the

                areas to be searched contain evidence of this violations. Any search must be

                conducted at a reasonable time and in a reasonable manner.

                                                      Respectfully submitted,

                                                      JOHN J. FARLEY
                                                      Acting United States Attorney


Dated: May 7, 2021                              By:   /s/ Seth Aframe
                                                      Seth Aframe
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                               CERTIFICATION OF SERVICE

       I hereby certify that a copy of this filing has been served electronically on all attorneys of
record via the Court’s electronic filing system.

       Dated: May 7, 2021

                                                      /s/ Seth Aframe
                                                      Seth Aframe
                                                      Assistant United States Attorney




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